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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                EASTERN DIVISION


ADEEB NAJI AMER                                                                       PETITIONER

V.                                                                           NO. 1:06CRl18-GHD
UNITED STATES OF AMERICA                                                          RESPONDENT


                                  MEMORANDUM OPINION

       Presently before the court is the Petitioner's Motion to Vacate Sentence under to 28 U.S.C.

§ 2255. The Government has responded, the Petitioner has filed his traverse, and this matter is ripe

for review. Having considered the parties' briefs and exhibits, the court finds that the motion is well

taken and shall be granted.

                                      A. Factual Background

       The Petitioner is an immigrant from Yemen. In 2001, he married a citizen and was admitted

as a permanent resident of the United States in 2003. On July 18,2008, pursuant to a written plea

agreement, the Petitioner pled guilty to distributing pseudoephedrine in violation of 21 U.S.C. §

841 (c)(2). A provision in the plea agreement expressly required that the Petitioner waive all appeals

and collateral attacks of his conviction and sentence. On February 5, 2009, the Petitioner was

sentenced to 30 months imprisonment. No appeal was taken. Despite the waiver in the plea
agreement and with the assistance of counsel, he filed the present motion on September 17, 2010.

       The Petitioner claims that his attorney rendered ineffective assistance by failing to advise him

ofthe likelihood of deportation in accordance with Padilla v. Kentucky, 130 S. Ct. 1473, 176 L. Ed.

2d 284 (2010). The Government argues that the Petitioner has waived any right to attack his

sentence.   Further, even if there had been no waiver, the Petitioner's motion is untimely.
Alternatively, the Government argues that Padilla v. Kentucky does not apply to this case.




                                           B. Timeliness
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        A prisoner incarcerated by order ofa federal court has one year to attack the constitutionality

of his sentence. 28 U.S.C. § 2255. The statute provides:

        The limitation period shall run from the latest of­
                (1) the date on which the judgment of conviction becomes final;
                (2) the date on which the impediment to making a motion created by
        governmental action in violation ofthe Constitution or laws ofthe United States is
        removed, ifthe movant was prevented from making a motion by such governmental
        action;
                (3) the date on which the right asserted was initially recognized by the
        Supreme Court, if that right has been newly recognized by the Supreme Court and
        made retroactively applicable to cases on collateral review; or
                (4) the date on which the facts supporting the claim or claims presented could
        have been discovered through the exercise of due diligence.

28 U.S.C. § 2255(f). A judgement of conviction becomes final when the conviction is affirmed on

direct review or when the time for perfecting an appeal expires. Clay v. United States, 537 U. S. 522,

527, 123 S. Ct. 1072, 155 L. Ed. 2d 88 (2003).

        Since no appeal was taken, the Petitioner's conviction became ten days after judgment was

entered. See Fed.·R. App. P. 4(b) (2009).1 In the absence of further review, the conviction became

final on February 24, 2009. He, thus, had one-year or until February 24, 2010, to file a motion under

§ 2255(f)(1).

        Amer acknowledges that his petition is untimely under § 2255(f)(1). He asserts, however,

that his petition should be considered under § 2255(f)(3)-the date on which the right asserted was

initially recognized by the Supreme Court and made retroactive-based on Padilla v. Kentucky, 130

S. Ct. 1473, 176 L. Ed. 2d 284 (2010). The Government argues that Padilla does not apply

retroactively.

       Padilla was announced on March 31,2010. The Petitioner's conviction became final on
February 24,2009. In order to benefit from Padilla, the holding will have to apply retroactively.2



        1   The Rule has since been amended and allows 14 days to perfect an appeal.

       2 The petition is more appropriately construed under 28 U.S.C. § 2241 as a writ for error

coram nobis. United States v. Dryer, 136 F.3d 417,427-28 (5th Cir. 1998). A petitioner seeking
such an extraordinary remedy must act diligently. Id. at 427-28.
       This matter was filed on September 17, 2010. To the extent there is any argument about

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                                       C. Padilla v. Kentucky

       The facts of Padilla are virtually identical to this case. Like the Petitioner, Padilla was a
                                                              .
lawful permanent resident of the United States. !d. at 1477. After pleading guilty to transporting

drugs, Padilla pled guilty. !d. at 1478. Soon thereafter, he was facing the possibility ofdeportation.

Id. On collateral review, Padilla argued that he received ineffective assistance of counsel when his

attorney failed to advise him of the possible consequence of deportation. !d. Padilla claimed that

he would have insisted on going to trial ifhe had received any advice about deportation. !d.

       The United States Supreme Court conclusively held thatthe Sixth Amendment, as interpreted

in Strickland v. Washington, 466 U.S. 688, 104 S. Ct. 2052, 80 L. Ed. 2d 674 (1984), requires

defense counsel to inform a client considering pleading guilty if there is a risk of deportation

associated with a conviction. Id. at 1484 (noting that in the past professional norms have required

counsel to discuss deportation consequences). The failure to so advise a client satisfies the deficient

performance prong of the Strickland analysis. !d.

       Neither the United States Supreme Court or the Fifth Circuit Court of Appeals has passed

on whether Padilla should apply retroactively. Instructive, however, are two opinions by sister

courts. See Zapata-Banda v. United States, No. B:09-PO-2487, 2011 WL 1113586 (S.D. Tex. Mar.

7,2011); Marroquin v. United States, No. M-10-156 2011 WL 488985 (S.D. Tex. Feb. 4, 2011).

After thorough analysis, each opinion held that Padilla does apply retroactively.3 This court agrees.

        Teague v. Lane, 489 U.S. 288, 109 S. Ct. 1060, 103 L. Ed. 2d 334 (1989) sets forth the test

for determining when a rule announced should be applied retroactively. That case provides, "an old

rule applies both on direct and collateral review, but a new rule is generally applicable only to cases




timeliness beginning from the issuance of Padilla, the court finds that the six months between
Padilla and filing this matter does not warrant a finding of untimeliness. See Zapata-Banda v.
United States, Crm. No. B:09-PO-2487, 2011 WL 1113586 at *3 (S.D. Tex. Mar. 7, 2011).

        3   Zapata-Banda, 2011 WL 1113586 at **12-13 (denying relief after finding the
petitioner had not suffered any prejudice); Marroquin, 2011 WL 488985 at **8-9 (denying relief
where the court had admonished the petitioner about probable deportation in the plea colloquy).

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that are still on direct review." Whorton v. Bockting, 549 U.S. 406, 416, 127 S. Ct. 1173, 167 L. Ed.

2d 1 (2007). A new rule is one that "breaks new ground, imposes a new obligation on the States or

the Federal Government, or was not dictated by precedent existing at the time the defendant's

conviction became final." Grahm v. Collins, 506 U.S. 461, 467, 113 S. Ct. 892, 122 L. Ed. 2d 260

1993).

         This court joins the decisions of the sister courts and finds that Padilla did not announce a

"new rule" but merely extended an old ru1e4 • That is, the Sixth Amendment's right to counsel as

delineated by Strickland and its progeny has not been altered but, rather, extended to include the

affirmative duty to advise a noncitizen defendant of the immigration consequences of a criminal

conviction. The failure to so advise a client is per se constitutionally deficient representation.

Padilla, 130 S. Ct. 1482-83. Both the language of Padilla and the application of Teague's test

indicate that the Padilla holiding should apply retroactively. See Marroquin, 2011 WL 488985 at

**8-9 (for a comprehensive and well reasoned Teague analysis).




         4  Courts have been divided on the retroactive effect of Padilla. See Mendoza v. United
States, _ F. Supp. 2d _,2011 WL 1226475 at *5 (E.D. Va. Mar. 24, 2011) (did not announce a
new rule and thus does not apply retroactively); United States v. Gilbert, No. 2:03-cr-00349­
WJM-1, 2010 WL 4134286 at *3 (D. N.J. Oct. 19,2010) (same); United States v. Shafeek, No.
05-81129,2010 WL 3789747 at **3-4 (E.D. Mich. Sept. 22, 2010) (same, denying relief when
petitioner's sentence was not under collateral review at the time Padilla was issued);
        But see United States v. Chavarria, No. 2:10-CV-191 JVB, 2011 WLl336565 at **2-3
(N.D. Ind. Apr. 7, 2011) (finding Padilla does apply retroactively to a 2009 guilty plea); United
States v. Zhong Lin, No. 3:07-CR-44-H, 2011 WL 197206 at **2-3 (W.D. Ky. Jan. 20, 2011)
(Padilla applies retroactively to convictions which became final before the decision); Martin v.
United States, No. 09-1397, 2010 WL 3463949 at *3 (C.D. Ill. Aug. 25, 2010) (Padilla is not a
new rule and does apply retroactively).
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                               D. Ineffective Assistance ofCounselS

       When a defendant collaterally attacks his conviction or sentence based on the effectiveness

of his counsel, he has the burden of proving by a preponderance of the evidence that his

constitutional rights have been violated. Johnson v. Zerbst, 304 U.S. 458, 469,58 S. Ct. 1019,82

L. Ed. 1461 (1938); Bruce v. Estelle, 536 F.2d 1051, 1058 (5th Cir. 1976). In order to demonstrate

ineffective assistance of counsel, a defendant must satisfy the two part test of Strickland v.

Washington, 466 U.S. 668, 687, 104 S. Ct. 2052, 80 L. Ed. 2d 674 (1984):

              First, the defendant must show that counsel's performance was deficient.
       This requires showing that counsel made errors so serious that counsel was not
       functioning as the "counsel" guaranteed the defendant by the Sixth Amendment.
       Second, the defendant must show that the deficient performance prejudiced the
       defense. This requires showing that counsel's errors were so serious as to deprive the
       defendant of a fair trial, a trial whose result is reliable.


A petitioner must satisfy both prongs of the Strickland test to succeed. Id. at 687.

       The court must apply the strong presumption that "counsel's conduct falls within the wide

range of reasonable professional assistance; that is, the defendant must overcome the presumption

that, under the circumstances, the challenged action might be considered sound trial strategy." Id.

at 689. When the alleged deficient performance involves the plea process, the petitioner must prove

"there is a reasonable probability that, but for counsel's errors, he would not have pleaded guilty and

would have insisted on going to trial. Hi/lv. Lockhart, 474 U.S. 52, 58-59, 106 S. Ct. 366, 88 L. Ed.

2d 203 (1985). A reasonable probability is probability sufficient to undermine confidence in the

outcome and is less than a preponderance of the evidence. Dale v. Quaterman, 553 F.3d 876, 880


        5   The court proceeds with an analysis of the merits of the Petitioner's claim despite the
Government's argument regarding waiver. Only claims of ineffective assistance of counsel
directly affecting the validity ofthe waiver or the plea itself survive a knowing and voluntary
waiver. United States v. White, 307 F.3d 336, 343 (5th Cir. 2002). Given the nature ofthe
Petitioner's claim and the ultimate conclusion reached herein, the court finds that deficient
advice renders the entire plea agreement, including the waiver provision, involuntary. Town of
Newton v. Rumery, 480 U.S. 386,393, 107 S. Ct. 1187, 1192,94 L. Ed. 2d 405 (1987); see also
Jones v. United States, 167 F.3d 1142, 1145 (7th Cir. 1999) (justice requires a defendant have the
opportunity to assert the right to effective counsel ifhe has accepted the waiver in reliance on
deficient representation).
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(5th Cir. 2008). In other words, he must demonstrate a reasonable probability that he would have

changed his plea. Arnold v. Thaler, 630 F.3d 367, 370 (5th CiT. 2011).

        Under Padilla counsel now has an affirmative obligation to advise his client about the

deportation consequences of pleading guilty. The Petitioner's argument that his attorney did not

discuss the possibility of deportation is uncontradicted. The attorney's failure to do so is per se

deficient under Padilla. This, however, does not end the inquiry. The Petitioner must also satisfy

the prejudice prong of Strickland. In support ofhis claim, the Petitioner suggests that ifhad known

ofthat deportation was likely he would not have accepted the plea deal. The Government counters

that the Petitioner's claim of prejudice is conclusory and insufficient to warrant relief.

        Apart from his own contention, there seems to be little proof the Petitioner could provide to

show prejudice. Nevertheless, it is entirely plausible that information regarding the possibility of

deportation would have motivated a reasonable person not to plead guilty. Accordingly, the court

finds that the Petitioner has met both prongs of Strickland. He has proven that his attorney rendered

deficient or, in this case, no advise as to the risk of deportation associated with a conviction. The

Petitioner has also satisfied the court that had he been aware of the risk of removal he would have

elected a trial.

                                           F. Conclusion

        The Petitioner has successfully maintained his burden of proof as to his. claims for relief.

Therefore, the sentence and guilty plea will be set aside. The Government shall have 120 days to

retry the matter.

        A order in accordan~with this opinion will be entered.

        THIS the    U
                     7/~·day of May, 2011.



                                                       SENIOR U.S. DISTRICT JUDGE
                                                       NORTHERN DISTRICT OF MIS




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